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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                             WESTERN DIVISION
    RENE MCDANIEL, as                            )
    personal representative of the               )
    Estate of Earnest McDaniel,                  )
                                                 )
            Plaintiff,
                                                 )               7:19-cv-00209-LSC
     v.                                          )
                                                 )
    MYLAN INC., et al.,
                                                 )
            Defendants.                          )


                             MEMORANDUM OF OPINION

           Before the Court is Plaintiff’s motion to remand. (Doc. 4.) Defendants have

timely filed their response. (Doc. 12.)1 The motion has been fully briefed and is

ripe for review. For the reasons stated below, Plaintiff’s motion to remand (doc. 4)

is due to be denied, Plaintiff’s motion for leave to file a second amended complaint

(doc. 7) is due to be granted, and Defendants’ motions to dismiss (docs. 1-3 at 219

& 9) are due to be terminated as moot with leave to re-file after review of Plaintiff’s

amended complaint.

      I.      BACKGROUND

1
        Defendants informed the Court that the initial filing of their response to Plaintiff’s
motion to remand (doc. 11) was done in error. Subsequently, Defendants requested leave to
substitute a correctly formatted brief. (Doc. 12.) The Court has reviewed the briefs and finds that
they are substantially similar. Therefore, Defendants’ motion (doc. 12) is due to be GRANTED.



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      Plaintiff Rene McDaniel, as personal representative of the Estate of Earnest

McDaniel, brings suit against Mylan Inc, Mylan Pharmaceuticals Inc, Mylan

Technologies Inc., and CVS Pharmacy LLC (collectively “Defendants”) for the

death of her husband due to a fentanyl overdose. Plaintiff initially filed suit in the

Circuit Court of Pickens County, Alabama on July 27, 2018. (Doc. 1-1.) Plaintiff’s

initial complaint named as a Defendant Dr. Diana Waldrep Warren (“Dr.

Warren”). Both Dr. Warren and the Decedent were alleged to be citizens of

Alabama. (Doc. 1-1 at 3 ¶ 6.)

      On September 4, 2018, Dr. Warren filed an unopposed motion for extension

of time seeking an additional ninety days to file a response to Plaintiff’s complaint.

(Doc. 1-3 at 60.) In this request, Dr. Warren asserted that due to her employment

at Whatley Health Services Inc. (“Whatley”), “the exclusive remedy for the

plaintiff against Dr. Warren, and/or Whatley Health Services is a claim against the

United States under the Federal Tort Claims Act.” (Id. at 61.) Dr. Warren stated

that the Office of General Counsel for the Department of Health and Human

Services was “reviewing this matter to determine its obligations to accept this

matter for defense.” (Id. at 62.) On September 5, 2018, the Circuit Court granted

Dr. Warren’s motion. (Id. at 71.) On November 20, 2018, Dr. Warren filed a

second unopposed motion for extension of time. (Id. at 359.) This request asked



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for another extension to file a response to the complaint and reiterated the grounds

asserted in Dr. Warren’s prior motion. (Id.) Specifically, Dr. Warren stated that the

Office of General Counsel was still reviewing the matter and whether a United

States Attorney would be assigned for defense of the claim. (Id. at 360.) The

Circuit Court granted Dr. Warren another extension. (Id. at 369.) Neither the

Attorney General nor his representative ever made an appearance before the

Circuit Court.

         On January 8, 2019, Plaintiff filed a voluntary dismissal as to Dr. Warren. (Id.

at 497.) Accordingly, the Circuit Court dismissed Dr. Warren on January 9, 2019.

(Id. at 506.) Defendants removed the action to federal court on February 4, 2019

asserting diversity jurisdiction. (Doc. 1.) Plaintiff filed a Motion to Remand on

March 4, 2019, asserting that Defendants’ removal was untimely. (Doc. 4.)

   II.      STANDARD OF REVIEW

         This Court, like all federal courts, is a court of “limited jurisdiction.”

Jackson-Platts v. Gen. Elec. Capital Corp., 727 F.3d 1127, 1134 (11th Cir. 2013). It is

authorized to hear only those cases falling within “one of three types of subject

matter jurisdiction: (1) jurisdiction under a specific statutory grant; (2) federal

question jurisdiction pursuant to 28 U.S.C. § 1331; or (3) diversity jurisdiction

pursuant to 28 U.S.C. § 1332(a).” PTA-FLA, Inc. v. ZTE USA, Inc., 844 F.3d



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1299, 1305 (11th Cir. 2016) (quoting Baltin v. Alaron Trading Corp., 128 F.3d 1466,

1469 (11th Cir. 1997)). A defendant may remove an action initially filed in state

court to federal court if the action is one over which the federal court has original

jurisdiction. 28 U.S.C. § 1441(a). “[A] defendant seeking to remove a case to a

federal court must file in the federal forum a notice of removal ‘containing a short

and plain statement of the grounds for removal.’ ” Dart Cherokee Basin Operating

Co. v. Owens, 135 S. Ct. 547, 553 (2014) (quoting 28 U.S.C. § 1446(a)).

      For removal to be proper, the court must have subject-matter jurisdiction in

the case. See Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987). Because

Defendants removed this action, they have the burden of establishing that the case

was properly removed. See Wilson v. Republic Iron & Steel Co., 257 U.S. 92, 97

(1921). Any doubt about the existence of federal jurisdiction “should be resolved in

favor of remand to state court.” City of Vestavia Hills v. Gen. Fid. Ins. Co., 676 F.3d

1310, 1313 (11th Cir. 2012) (internal citation and quotation marks omitted).

   III.    DISCUSSION

      To remove an action filed in state court, the defendant must file notice of

removal with the district court within 30 days of receiving a copy of the initial

pleading. 28 U.S.C. § 1446(a)–(b). Where multiple defendants are involved, “the

limitations period for removal expires upon thirty days from service on the. . . last-



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served defendant.” Bailey v. Janssen Pharmaceutica, Inc., 536 F.3d 1202, 1203 (11th

Cir. 2008). “Only state-court actions that originally could have been filed in federal

court may be removed to federal court by the defendant.” Caterpillar Inc., 482 U.S.

at 392. However, if the case is not removable based on its initial pleadings, “a

notice of removal may be filed within 30 days after receipt by the defendant,

through service or otherwise, of a copy of an amended pleading, motion, order or

other paper from which it may first be ascertained that the case is one which is or

has become removable.” 28 U.S.C. § 1446(b)(3).

      The crux of Plaintiff’s motion is that Defendants should have known that

this Court had jurisdiction over the case based on her initial pleading under §

1446(b)(1) or, in the alternative, that Defendants’ should have removed the action

within thirty days of receipt of Dr. Warren’s unopposed motions for extension of

time under § 1446(b)(3). Essentially, Plaintiff’s motion to remand asks this Court

to determine at what point Defendants should have removed the case to comply

with 28 U.S.C. § 1446. At times Plaintiff’s argument, and Defendants’ response in

opposition, asks this Court to speculate as to the ultimate decision the Court would

have made if faced with a hypothetical fraudulent removal scenario. The Court will

not offer the parties an advisory opinion by speculating as to how it would have

ruled had it been faced with a removal based on an assertion of fraudulent joinder.



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Instead, the Court will answer the relevant questions before it under § 1446: (1)

Did the Court have original jurisdiction based on the initial pleading and (2) Did

Dr. Warren’s motions render the case removable?

      Upon review, the complaint was not removable upon its face. Before this

Court can exercise diversity jurisdiction, complete diversity of citizenship must

exist. “Diversity jurisdiction requires complete diversity; every plaintiff must be

diverse from every defendant.” Triggs v. John Crump Toyota, Inc., 154 F.3d 1284,

1287 (11th Cir. 1998). Both Dr. Warren and the Decedent were alleged to be

citizens of Alabama. Accordingly, the parties were not diverse at the time of filing

and diversity jurisdiction was lacking.

       Similarly, Federal Question jurisdiction was lacking from the face of

Plaintiff’s complaint. Federal question jurisdiction requires that the “action aris[e]

under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

The analysis of federal question jurisdiction begins with the principle that the

plaintiff “is master to decide what law he will rely upon.” The Fair v. Kohler Die &

Specialty Co., 228 U.S. 22, 25 (1913). Plaintiff can choose to rely solely on state law

even if federal law provides a cause of action as well. Campbell v. Gen. Motors Corp.,

19 F.Supp.2d 1260, 1271 (N.D. Ala. 1998). “The presence or absence of federal-

question jurisdiction is governed by the ‘well-pleaded complaint rule,’ which



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provides that federal jurisdiction exists only when a federal question is presented

on the face of the plaintiff's properly pleaded complaint.” Caterpillar, 482 U.S. at

392. “Thus, it is now settled law that a case may not be removed to federal court on

the basis of a federal defense, including the defense of preemption, even if the

defense is anticipated in the plaintiff's complaint, and even if both parties concede

that the federal defense is the only question truly at issue.” Id. at 393 (citing

Franchise Tax Bd. of Calif. v. Constr. Laborers Vacation Trust for Southern Calif., 463

U.S. 1, 12 (1983)). Upon review, there was no federal question presented on the

face of Plaintiff’s complaint. Accordingly, the Court did not have original

jurisdiction over the complaint as initially pled.

       Plaintiff, nevertheless, creatively argues that Defendants were free to remove

the case upon its initial filing based on diversity jurisdiction because Defendants

should have known that Plaintiff could not recover against Dr. Warren due to the

Federal Torts Claims Act (“FTCA”).2

       Federal District Courts have original jurisdiction over claims arising under

the FTCA because those claims are in all actuality claims against the United States.

Pursuant to the Federally Supported Health Centers Assistance Act of 1992



2
       Plaintiff does not argue that she failed to state a claim against Dr. Warren under state law.
Instead, Plaintiff’s argument essentially asserts that Defendants should have known that she
named the wrong defendant based on the initial complaint.

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(FSHCAA), certain health care providers receiving federal funding through grants

made under Section 330 of the Public Health Services Act can be deemed federal

employees of the Public Health Service (“PHS”) for the purposes of medical

malpractice liability. 42 U.S.C. § 254b. Section 224(a) of the Public Health Service

Act, renders the FTCA as the exclusive remedy for medical malpractice claims

against individuals deemed an employee of the PHS. 42 U.S.C. § 233(g).

      Claims that fall under the FTCA through the FSHCAA but filed initially in

state court may be removed to federal court in two distinct circumstances. First,

the action can be removed by the Attorney General at any time before trial upon

certification that “the defendant was acting in the scope of his employment at the

time of the incident out of which the suit arose.” Id. § 233(c). Second, the action

may be removed by the individual seeking to be deemed an employee of the PHS

for the purposes of making such a determination if and only if the Attorney General

fails to make an appearance in the state court within 15 days of being notified of the

suit. Id. § 233(l)(2). Once the potential federal employee removes the action, the

action “is stayed until the district court conducts a hearing and makes a

determination as to the appropriate forum for assertion of the claim.” Allen v.

Christenberry, 327 F.3d 1290, 1294 (11th Cir. 2003) (citing 42. U.S.C. § 233(l)).




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The case may not be removed once the Attorney General certifies that the

defendant is not deemed an employee of the PHS. Id. at 1296 n.3.

       From the face of the initial complaint, it appeared that Plaintiff was bringing

a medical malpractice claim against Dr. Warren for her treatment of the Decedent.

The facts alleged indicated that Dr. Warren was a citizen of Alabama, practiced

medicine in Pickens County, and was involved in the treatment of the Decedent

and prescription of drugs to him. (Doc. 1-3 at 4, 7– 8, ¶¶6, 37–45.) The complaint

contained no reference to Dr. Warren’s alleged employer Whatley Health Services,

the FSHCAA, or the Public Health Service Act as to indicate that Dr. Warren was

improperly named. Accordingly, the Court cannot conclude based on the complaint

as plead that it had jurisdiction over the initial pleading. 3 Therefore, Defendants’

removal of the action was timely.

       Alternatively, Plaintiff argues that Dr. Warren’s unopposed motions for

extension of time made the action removable. Dr. Warren’s motions do not

sufficiently provide notice to Defendants that the case is removable for the

3
       Plaintiff argues that Defendants should have known Dr. Warren’s employer, although it
was not named in the complaint, and that Defendants should have been certain that Dr. Warren’s
unnamed employer was covered by the FTCA. However, the Office of General Counsel of the
Department of Health and Human Services never determined that Plaintiff’s claims against Dr.
Warren were subject to the FTCA. In fact, the record indicates that the Office of General
Counsel had not issued a decision by the time Dr. Warren was dismissed. Additionally, the
Attorney General never appeared to certify that Dr. Warren was covered by the FTCA and
remove the case to assert that the United States was the proper party.


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purposes of § 1446(b). Accordingly, these motions did not open another thirty day

window for the action to be removed. Consequently, Defendants removal was not

untimely. 4

    IV.     CONCLUSION

       For the reasons stated above, Plaintiff’s motion to remand (doc. 4) is due to

be denied. Because the Court is not remanding this action to state court, Plaintiff’s

motion for leave to file a second amended complaint (doc. 7) is due to be granted.

Plaintiff is instructed to file the proposed amended complaint as a separate docket

entry within five (5) days of the date of this Memorandum of Opinion. Defendants’

pending motions to dismiss (docs. 1-3 at 19 & 9) are due to be terminated as moot

with leave to refile should such motions be warranted upon review of the second

amended complaint.

       DONE and ORDERED on May 6, 2019.


                                           _____________________________
                                           L. Scott Coogler
                                           United States District Judge
                                                                                      195126




4
        The Office of General Counsel’s review of whether to defend Dr. Warren’s claims does
not in and of itself create federal jurisdiction.

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